                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:06cr119


UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
               v.                                )     FINAL ORDER AND JUDGMENT
                                                 )     CONFIRMING FORFEITURE
(1) THO PHUOC NGUYEN,                            )
                                                 )
                       Defendant.                )
                                                 )

       On May 7, 2007, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), (Doc. No. 25), based upon the Defendant’s plea of

guilty on Count Three in the Bill of Indictment. As to that Count, Defendant was convicted of

using and carrying certain firearms during and in relation to one or more drug trafficking crimes,

in violation of 18 U.S.C. § 924(c).

       On September 26, 2008 through October 25, 2008, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from September 26, 2008 for a hearing to adjudicate the validity of

any alleged legal interest in the property. It appears from the record that no such petitions have

been filed. Based on the record in this case, including the defendant’s plea of guilty, the Court

finds, in accordance with Rule 32.2(c)(2), that the Defendant had an interest in the property that

is forfeitable under the applicable statute.




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       IT IS, THEREFORE, ORDRED, in accordance with Rule 32.2(c)(2), the Preliminary

Order of Forfeiture is confirmed as final. All right, title, and interest in the following property,

whether real, personal, or mixed, has therefore been forfeited to the United States for disposition

according to law:

               One Norinco Mak 90 rifle;

               One Winchester 30-30 rifle;

               One Ruger 9mm pistol;

               One Rossi Interarms .38 caliber pistol;

               One Remington Arms 700 rifle;

               One Mossberg 9200 12-gauge shotgun;

               One Marlin .22 caliber rifle;

               One Remington Model 870 12-gauge shotgun;

               One Smith and Wesson 9mm pistol; and

               Ammunition seized on or about March 16, 2006 from 1609 Candlewood
               Ridge Lane, Charlotte, North Carolina.


                                                  Signed: December 18, 2008




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